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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    ----- --- ---------- --- ---- -- ------ --- -- - -- - -- --- - ------ - ---- - - -- )C

    INRE                                                                                          MASTER FILE NO:
    VISA CHECK/ASTERMONEY ANTITRUST                                                               CV -96-5238
    LITIGATION                                                                                    (Gleeson, J.) (Orenstein, M.J.)
    ------ -- --- ---- --- --- --- ---- -- -- -- ------ --- - -- --- - - --- --- - -- -- - )C
    This Document Relates To
    All Actions:

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                                    DECLARATION OF ROBERT L. BEGLEITER. ESQ.

                Pursuant to 28 U.S.c. § 1746, Robert L. Begleiter declares as follows:

                1. I am an attorney admitted to practice in the State of                                New Yark and in the United

   States District Court for the Eastern District of                               New York. I am a member of Constantine

   Canon LLP, Co-Lead Counsel along with Hagens Berman Sobol Shapiro LLP (together, "Lead

   Counsel") for the Plaintiff Class in this action. This declaration is submitted in support of Lead

   Counsel's Motion to Approve the Securitization of                                      the MasterCard Settlement Account

   Payments.

                2. The Plaintiff                   Class in this case included both named Plaintiffs (Wal-Mar, Circuit

   City, Sears, The Limited, Safeway, Burlington Coat Factory, Payless Shoe Source, three major

   retail trade associations, and several smaller merchants) and the millons of
                                                                                                                United States

   merchants who accepted Visa and/or MasterCard for payment during the class period, October

   25, 1992 through June 21,2003. Appro)Cimately 700,000 Class Members fied approved claims

   in this action ("Class Claimants").

               3. MasterCard International Incorporated ("MasterCard") and the Plaintiff Class


   e)Cecuted a settlement agreement, dated June 4, 2003, ("Settlement Agreement"), a true a correct

   copy of      which is anne)Ced hereto as E)Chibit A. Final settlement approval occurred on June 1,




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   2005, after all appeals were e)Chausted and the time to seek further review in the United States

   Supreme Cour had e)Cpired. At that point, Lead Counsel could begin the process of mailing

   claim forms to Class Members.

          4. To date, MasterCard and Visa U.S.A. Incorporated ("Visa") have parially


   satisfied their obligations under the settlement agreements, including payment of $1.85 bilion

   made into the settlement funds (MasterCard paid si)C installments totaling $625 milion and Visa

   paid si)C installments totaling $1.225 bilion). Visa and MasterCard are obligated to pay an

   additional $1.2 bilion into the settlement funds between now and December 2012.

          5. The table below reflects the dates and amounts of distributions made through


   appro)Cimately 823,300 checks to Class Claimants:


                         DATE OF DISTRIBUTION AMOUNT DISTRIBUTED

                         December 19,2005 $52,729,595.18
                         June 28, 2006 $609,990,110.38

                         December 23,2006 $317,281,533.80
                         December 21,2007 $185,947,129.93
                         December 23,2008 $257,308,370.08
                        Distributions made under $6,587,797.15
                        specific Court orders between
                        December 19,2005 and
                        December 23,2008

                        TOTAL $1,429,844,536.52
         6. The Plaintiff Class had no obligations under the settlement agreements with Visa


  or MasterCard.

  Commencement Of The Securitization Process

         7. In appro)Cimately May and June of2003, Lead Counsel determined after meetings



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   with its advisor, Joshua J. Slovik at Canonade Capital, LLC, that a securitization would be an

   appropriate way to convert MasterCard's unpaid payment obligations ("Future Payments") into

   lump-sum payments. During the ne)Ct few months, Lead Counsel and its advisor met with eight

   large investment bans (i. e., underwriters) to discuss the feasibility of a securitization. Si)C of

   those bans provided preliminar information on proceeds, fees and e)Cpenses, timing, structure,

   residual, the credit ratings process, required assistance from MasterCard, and other issues related

   to such a securitization.

               8. Lead Counsel submitted the Plan of Allocation to the Court for approval on


   August 18,2003. The Plan of Allocation includes provisions allowing for and delineating the

   process of a securitization of the settlement funds. The Plan of Allocation was amended on

   August 16, 2005 (the "Amended Plan of Allocation"), however, the securitization provisions

   remained unchanged. True and correct copies of the Plan of Allocation and the Amended Plan

   of Allocation are ane)Ced hereto as E)Chibits Band C, respectively.

               9. After final settlement approval, Lead Counsel discussed initiating the


   securitization process of   the MasterCard Future Payments (the "Securitization") with its advisor,

   and upon approval of the Amended Plan of Allocation, Lead Counsel and its advisor began the

   securitization process. These efforts included retaining a structuring and placement agent, hiring

   specialized counsel, structuring the transaction, negotiating cooperation with MasterCard,

   navigating the Standard and Poor's ("S&P") rating process, and completing the documents

   necessary to effectuate the Securtization.

               1 O. Beginning in November 2005, Lead Counsel interviewed si)C investment bans,

   focusing on their securitization e)Cperience and their involvement, ifany, in MasterCard's

   planned initial public offering. As a result of these interviews and follow-up discussions, Lead


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    Counsel selected Deutsche Ban Securties Inc. ("Deutsche Ban") and Bear Stearns & Co.


    ("Bear Stearns") as Structuing and Placement Agents (as defined in the accompanying

    Declaration of Joshua J. Slovik, dated March 4,2009 (the "Slovik Decl.")) for the Securitization

    subject to the negotiation of an engagement letter and the receipt of Cour approval. Both firms

   began working on the Securitization soon after being selected.

               11. In June 2006, Lead Counsel informed the Court of the selection of Deutsche Ban


   and Bear Stearns to act as the Structuring and Placement Agents. Pursuant to an order dated

   August 29,2006 (the "August 2006 Order"), the CoUr approved the engagement of
                                                                                        Deutsche
   Ban and Bear Steams as the Structuring and Placement Agents. A true and correct copy of the

   August 26 Order is ane)Ced hereto as E)Chibit D.

   Dispute With The Government

               12. On January 27,2006, after Lead Counsel began discussions with S&P, the U.S.


   Deparment of Justice, Antitrust Division, fied consolidated claims on behalf of Governent

   agencies and instruentalities to paricipate in the distribution of the settlement funds. Lead

   Counsel opposed this claim, and a briefing schedule was set by the Cour. The dispute over the

   Governent's application was briefed in the spring of 2006 and argued before the Special

   Master in June 2006.

              13. Lead Counsel was unable to obtain a preliminary indication of a credit rating for

   the Securitization in June 2006 because of the dispute with the Governent. MasterCard

   threatened to petition the Court to re-open and reform the Settlement Agreement if the Court

  ruled that the United States had no claim against the settlement fund, and the United States then

  instituted its own suit against MasterCard. Under the shadow of that threat, Lead Counsel was

  unable to make certain representations to the investment community with respect to the finality



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   of the settlement that were required to proceed with the Securitization.

               14. Lead Counsel and the Governent paricipated in several negotiation sessions,

   many of       which were mediated by the Special Master. The paries settled the dispute and Lead

   Counsel resumed work on the Securitization in Januar 2007. The Court approved the

   settlement between Lead Counsel and the Governent in February 2007, which became final at

   the end of April 2007 when the time to appeal the Court's decision e)Cpired.

   Obtainin2 S&P's Ratin2 Of         The Securitization And New Underwriters

               15. Following a May 7, 2007 meeting with Deutsche Ban, Bear Stearns, and Lead


   Counsel's advisor, Lead Counsel decided to move forward with the Securtization, focusing

   initially on securitizing the MasterCard settlement payments because MasterCard had already

   completed its public offering while Visa had not.

               16. The Securitization could not go forward without an investment grade rating by a

   major rating agency, in this case, S&P. In order to give such a rating, S&P requires, inter alia,

   assurance that the Settlement Agreement and the Judgment afford adequate protection to

   investors and that the dispute with the Governent has been resolved, as well as assurances that

   MasterCard wil continue to provide information needed by S&P to maintain a rating of

   MasterCard until payment of the final installment.

              17. A list of information needed from MasterCard as required by the credit rating

   agencies was communicated to MasterCard in June 2007. Initially, MasterCard refused to

   provide all of the information, but that dispute was resolved, and Lead Counsel proceeded with

   its Securitization efforts, using S&P to rate the transaction.

              18. On or about June 10,2008, S&P confirmed a preliminary rating ofBBB+ (the


   same as MasterCard's own corporate credit rating) for the securities to be offered in the



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    Securitization, contingent upon approval of                           the final versions of   the documents related to the

    Securitization, no change in MasterCard's rating, and on receiving an acceptable letter of support

   from MasterCard detailing the information MasterCard would provide in the event MasterCard's

   e)Cisting credit rating is withdrawn before the Securitization matures in 2012.

                19. On September 3, 2008, MasterCard informed me of an agreement with S&P as to


   MasterCard's continuing obligations. Ane)Ced hereto as E)Chibit E is a true and correct copy of

   the Letter from Michael Ellison, MasterCard Assistant Corporate Treasurer, to S&P, dated

   September 3,2008. The letter outlines MasterCard's agreement to either maintain a credit rating

   with S&P and allow S&P to use MasterCard's corporate rating to rate the Securtization or, in

   the event MasterCard does not maintain an S&P credit rating, to provide S&P with the

   information necessary to allow S&P to rate independently the Securitization. In retur,

   MasterCard wil receive reasonable reimbursement of costs associated with the rating process.

               20. On September 18, 2008, I provided MasterCard with a draft Obligor Letter

   Agreement, which sets forth MasterCard's agreement to cooperate by providing information

   necessary to obtain a credit rating from S&P in e)Cchange for reasonable reimbursement of costs.

   The draft Obligor Letter also notes MasterCard's awareness that upon completion of
                                                                                                                      the

   Securitization, the Plaintiff Class wil assign all of its right, title, and interest to receive Future

   Payments to a trust, to which MasterCard wil continue to make Future Payments. Counsel for

   MasterCard represented to me that MasterCard wil sign the Obligor Letter once the Closing

   Date of     the transaction (as defined in the Obligor Letter) is known. Ane)Ced hereto as E)Chibit F

   is a true and correct copy of the draft Obligor Letter that MasterCard represented it wil sign.

              21. Since receiving the preliminar rating from S&P, Lead Counsel has authorized its


   advisor to initiate the preparation of documents necessary to complete the Securitization. Mr.



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   Slovik managed the process by which Brown Rudnick LLP (counsel for Lead Counsel) and

   Orrck, Herrington & Sutcliffe LLP (counsel for the underwriters) prepared the required

   documentation and opinions. In conjunction with fiing this motion, Lead Counsel wil submit

   the documents necessary to complete the Securitization and the Proposed Order (described

   below) to S&P for receipt of a final credit rating.

               22. In the spring of2008, JP Morgan Securities Inc. ("JP Morgan") acquired Bear


   Stearns and became successor to the engagement letter with Bear Steams. JP Morgan

   subsequently informed me in the fall of 2008 that as part of its realignment after acquiring Bear

   Stearns, JP Morgan was no longer interested in pursuing the Securitization unless Lead Counsel

   agreed to increase JP Morgan's potential fees from the amount originally agreed upon in the

   engagement letter with Bear Stearns. JP Morgan terminated its involvement in the Securitization

   after Lead Counsel declined JP Morgan's demand.
                                                                  1 JP Morgan did not receive any fees in

   connection with this work and is not entitled to receive any fees in the future.

              23. Lead Counsel and its advisor interviewed three potential investment bans in

   September 2008 and selected Barclays Capital Inc. and Citigroup Global Markets Inc. (together,

   the "Baners") as the replacement Structuring and Placement Agents for the Securitization.

   Subject to Cour approval, Lead Counsel agreed with the Baners on fees substantially similar to

   those in the engagement letter with Bear Stearns that has already been approved by the Cour.

   The engagement letter with the Baners is being submitted to the Cour concurrently with this

   Motion.

   The Court Appoints An Independent Expert

              24. To aid the Court in evaluating the Securitization, on September 17,2007, the




   i Deutsche Bank resigned from the Securitization in March 2008. Like JP Morgan, Deutsche Bank did not
   receive any fees in connection with its work and is not entitled to receive any fees in the futue.

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   Special Master ordered Lead Counsel to submit a proposed statement of work for an independent

   e)Cpert advising on the Securitization in conjunction with a recommendation to the Cour for the

   appointment of such an e)Cpert? A true and correct copy ofthat order is ane)Ced hereto as

   E)Chibit G. On Januar 11,2008, Lead Counsel requested the Court to name an independent

   e)Cpert to advise the Court on the Securtization, and on March 20, 2008, the Cour appointed

   Professor Bernard Black as the Independent E)Cpert. True and correct copies of                                Lead Counsel's

   Januar 11,2008 request and the Court's March 20, 2008 Order are anne)Ced hereto as E)Chibits

   H and I, respectively.

               25. Since that time, Lead Counsel and its advisor have provided the Independent


   E)Cpert with background information, relevant documents provided to S&P, drafts ofthe


   Securitization's Offering Memorandum and the Indentue, analyses of distribution e)Cpenses and

   estimated transaction e)Cpenses, and responses to a several inquiries regarding accounting

   treatment and securitization economics. The Independent E)Cpert also has been updated

   regarding the status of the Securitization and curent developments, and he is e)Cpected to submit

   his report under separate cover.

   Securitization Is In The Best Interests Of Class Claimants

               26. The rights of Class Claimants to receive the Future Payments can be viewed as if


   Class Claimants curently hold MasterCard debt in the form of                               MasterCard's obligation to make

   the Future Payments to the Class. By completing the Securitization, Class Claimants essentially

   would be sellng this debt to outside investors at a discount rate equal to the interest rate on the

   Securitization's notes.


               27. To best understand the merits of                            the Securtization one must compare the

   2 In the August 2006 Order approving the engagement of                            Deutsche Bank and Bear Steams as the Structurg
   and Placement Agents, the Court also stated that an independent expert may be appointed to evaluate any proposed
   securitization. See Exhibit D.

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   difference between the cost of                   Class Claimants e)Cisting sources of         funding (debt and interest)

   and the discount rate (including all e)Cpenses) that would be applied to the settlement payments

   as reflected in the pricing of the Securitization. An additional factor to be considered is that

   given the tightening of credit by their lenders and the increased danger of Class Claimants going

   out of     business in this recession, there is a substantial advantage to Class Claimants in

   accelerating the distributions.

               28. Lead Counsel's advisor informed me that the Baners would price the


   Securitization based on MasterCard's creditworthiness, with certain premiums added to the

   interest rate on the Securitization notes to reflect the difference between those notes and direct

   MasterCard debt and deal-specific issues. This pricing is made up of
                                                                                                   three components.

               29. The first component is the rate on the relevant U.S. Treasuries (that matue on

   appro)Cimately the same date as the average life of the remaining payments from MasterCard are

   due). See Slovik Decl. at ir 21.

               30. The second component is incremental interest (or a spread over U.S. Treasuries)

   to compensate investors for the additional inherent risk associated with MasterCard's corporate

   debt versus U.S. Treasures (which are risk free). This spread is based on similar outstanding

   issues (in rating and industry). The sum of                            these two components is appro)Cimately Maste.rCard's

   cost of unsecured debt. See Slovik Decl. at ir 21.

              31. The third component is a premium reflecting the uniqueness of this Securitization.

   According to the Baners, investors in the Securitization wil demand a premium to

   MasterCard's cost of debt based on deal-specific factors. These factors may include the fact that

   this would be a first-of-a-kind securitization, the Securitization notes would be iliquid and

   difficult to sell prior to maturity, the Securitization would not be MasterCard's direct obligation



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  to investors, and MasterCard does not currently have any debt outstanding that can be readily

  used to establish MasterCard's cost of unsecured debt. See Slovik Decl. at ir 22.

              32. According to a recent aricle posted at CNNMoney.com which reports that the


  consulting firm BDO Seidman recently sureyed chief financial officers at 100 retailers, and half

  of those retailers said they have e)Cperienced a tightening of credit by their lenders. The aricle

  also reports that "the trickle-down effect of this is that many retailers wil have less holiday

  inventory, hire fewer additional                    labor and they are also making the decision to cut back on

 e)Ctended store hours." Ane)Ced hereto as E)Chibit J is a true and correct copy of that aricle.

              33. Anne)Ced hereto as E)Chibit K is a true and correct copy of a February 2,2009

 Bloomberg article reporting that tight credit conditions have continued and citing a U.S. Federal

 Reserve report stating that a majority of                        U.S. bans made it tougher for consumers and

 businesses to obtain credit in the past three months. Obtaining funds from the settlement with

 MasterCard at an earlier date also would enable Class Claimants either to avoid incremental

 borrowing or to use the funds as they see fit.

             34. The current deepening recession adds to the danger there wil be an increased rate

 of Class Claimants going out of                     business. Ane)Ced hereto as E)Chibit L is a true and correct copy

 of   an article in the New York Times reporting that Circuit City, a named plaintiff
                                                                                                        and one of    the
 largest merchants in the Class, fied for banuptcy in November 2008 and anounced that it wil

 go out of business. That same aricle reports that several other large merchants fied for

 banptcy in just the past year alone.

             35. Banptcy fiings are e)Cpected to increase. Anne)Ced hereto as E)Chibit M is a

 true and correct copy of a Wall Street Joural article reporting that merchants anticipate "a wave

 of post-holiday bankptcy fiings."


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         36. A review of                   the required ta)C reporting to Class Claimants that would be required

 after the Securitization is completed has not yet been completely resolved, but it is not e)Cpected

 to result in a significant increase in costs. Lead Counsel wil notify the Cour once the actual

 costs of any incremental required ta)C reporting become known.

 The Proposed Order

         37. Should the Cour grant this motion, Lead Counsel requests the Cour to approve


 the Proposed Order, which is ane)Ced hereto as E)Chibit N. In granting this motion and issuing

 the Proposed Order, the Court wil provide a procedure for effectuating the Securitization and a

 method to ensure that Class Claimants obtain a favorable rate for the Securitization. The

 Proposed Order provides that:

       1. Lead Counsel may proceed with the Securitization;

      11. Lead Counsel is authorized and has the authority to act as binding
               representative of the Class to complete the Securitization, including but not
               limited to the power to create the "Trust" (a Delaware statutory trust into
               which Lead Counsel will cause the sale and assignment of the rights to receive
               all Future Payments and all rights and interests related thereto), and that
               documents e)Cecuted by Robert L. Begleiter or Jeffrey 1. Shinder on behalf of
               Constantine Cannon LLP and by George W. Sampson on behalf of          Hagens
               Berman Sobol Shapiro LLP that relate to the Securitization shall constitute
               legal, valid, and binding obligations of and be enforceable against the Class;

     111. the conveyance of        the Class' rights to receive the Future Payments and the
               related rights and interests wil constitute an absolute sale in that the Class
               wil transfer immediately all rights and interests to receive the Future
               Payments upon completion of the Securitization;

      iv. the transfer by Lead Counsel to the Trust of control over withdrawals from the
               Settlement Fund wil not conflct with the requirement of the Settlement
               Agreement requiring Lead Counsel's signature for all requests for
               withdrawals from the Settlement Fund;

      v. the Trust will; effective as of                          the Class' rights, have the
                                                        the conveyance of

               right to enforce all rights and powers related to the Future Payments granted
               to the Class under the Settlement Agreement and the Amended Plan of
               Allocation, including the power to seek relief from this Court pursuant to

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               Paragraph 43 of the Settlement Agreement to compel MasterCard to fulfill its
               payment obligations;

      VI. Lead Counsel may complete the Securitization at a rate equal to or lesser than
            the ma)Cimum rate set forth in the Declaration of Joshua J. Slovik, but if, after
            consulting with the Independent E)Cpert, Lead Counsel determines that the
            Securitization should not be completed despite obtaining a discount rate equal
               to or lesser than that ma)Cimum rate, Lead Counsel shall not complete the
               Securitization and shall so notify the Cour; and

      V11. other than the order granting this motion, notice provided to the Class on the
            case website and to the paries appearing in this action by mail is sufficient
            and adequate such that no additional action or notice is required prior to
               completing the Securitization.

         38. In order to securitize the Future Payments, Court approval of
                                                                                              the Securitization is

 required under both the Settlement Agreement and the Amended Plan of Allocation. The second

 and third points of relief also are necessary to effectuate the Securitization because investors wil

 require a Court order assurng them Lead Counsel possesses authority to e)Cecute the required

 Securitization agreements and the investors wil have legal claim to and enforcement rights

 related to the Future Payments. Likewise, the fourth and fifth requested items of relief are

 necessary because they would provide investors with assurances that they wil possess the power

 to receive, and if required enforce, all rights related to the Future Payments as conveyed by Class

 Claimants.

        39. At the conclusion of                     the Baners' marketing of   the Securitization, Lead Counsel

 would be presented with the pricing indication (i. e. the discount rate) at which investors are

 wiling to participate in the Securitization. These pricing indications usually e)Cpire within


 twenty-four hours and would not be valid for the time required for Class Claimants' objections to

 be heard. Securing pricing indications valid for a longer period of time would be a significant

 variation from the standard marketing process and likely would reduce the proceeds to Class

 Claimants. Therefore, Cour approval of the Securitization and the ma)Cimum rate at which the


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   Securitization may be completed is required before Lead Counsel can learn the actual discount

   rate required to sell the entire Securtization to investors.

               40. Lead Counsel has concluded that disclosure of a minimally acceptable price

   would lead investors to bid lower than they might otherwise. This would be adverse to the

  Baners' marketing efforts and could result in lower proceeds to Class Claimants.3 In the

  Proposed Order, Lead Counsel balances these alternatives and the time required for due process

  with the Bankers' need to move quickly to complete the Securitization successfully.

  Specifically, Class Claimants wil require time to review the Securitization proposal and an

  opportunity to object to the proposal. The Cour and the Special Master also wil need time to

  review the Securitization and any possible objections from Class Claimants. To ma)Cimize

 proceeds to Class Claimants, Lead Counsel asks the Cour to review the Securitization proposal

 and rule on whether it can proceed before the Bankers begin marketing the Securitization.

             41. Lead Counsel has determined that, subject to receiving an investment grade rating

 from S&P, the Securitization would be in the best interests of the Class Claimants. Upon

 learing the discount rate and all other final terms of the Securitization, or at a later time that

 Lead Counsel believes is appropriate, Lead Counsel would make a final determination that the

 Securitization is in the best interests of Class Claimants. Only in that case would Lead Counsel

proceed with the Securitization. Following receipt ofS&P's final credit rating, and contingent

on the receipt of an investment grade rating equal to or lesser than the Court-approved rate, Lead

Counsel would review market conditions with the Bankers, its advisor, and the Independent

E)Cpert in order to make a final determination regarding commencing the marketing of the



3 Accordingly, and pursuant to the Court's direction, the Slovik Declaration and the memorandum supporting
the instant motion, both of   which contain pricing information for the Securitization, have been fied under seaL.
Redacted versions of  these documents - with only the four relevant figures redacted - have been publicly fied. No
text has been redacted.

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  Securitization. If Lead Counsel, after consulting with the Independent E)Cpert, believes that

  market conditions are adverse, Lead Counsel would not allow the Baners to initiate the

  marketing process and would so inform the Cour. This is the si)Cth point of relief requested in

  the Proposed Order.

         42. The seventh and final point of relief is necessary to assure investors that this

  Proposed Order is all that is required for the Court to grant Lead Counsel the authority to

 effectuate the Securtization. This point seeks to clarify that by providing notice to Class

 Claimants on the case website and to all paries appearing in this action by mail, no fuher action

 or notice would be required before Lead Counsel completes the Securitization. Lead Counsel

 intends to post certain information regarding the Securitization on the case website and also to

 disclose the nature of the Securitization in certain trade periodicals that it has used in the past to

 relay information to Class Claimants. The information in the trade periodicals wil direct Class

 Claimants to the website for additional information. By utilizing the website and the trade

 periodicals, Lead Counsel is seeking to avoid the costs associated with printing and mailing

 notice to all Class Claimants.

        43. Since the Bankers would be compensated based on the percent of
                                                                                      proceeds from
 the sale of the Securitization, they are motivated to ma)Cimize the proceeds to Class Claimants.

 According to Lead Counsel's advisor, the Bankers have stated they would like to playa similar

role on the Visa securitization which would be a larger transaction. While the Bankers are only

retained to e)Cecute the MasterCard Securitization, the successful e)Cecution of this transaction

likely wil cause Lead Counsel to seek to retain the bankers for the Visa transaction as well.

Lead Counsel believes that these incentives, in addition to the Bankers' track record,

professionalism, and the potential publicity and scrutiny this transaction would generate will



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  result in optimal e)Cecution by the Bankers.

         44. Lead Counsel wil post all motion papers on the case website and also wil

  disclose the natue of the Securtization in trade periodicals that it has used in the past to relay

  information to Class Claimants. The information in the trade periodicals wil direct Class

  Claimants to the website for additional information. By utilizing the website and the trade

  periodicals, Lead Counsel is seeking to avoid the costs associated with printing and mailing

  notice to all Class Claimants. A Merchants Advisory in Spansh regarding the Securtization wil

  also be posted on the case website.



         WHEREFORE, I respectfully request that the Cour grant Lead Counsel's Motion and

  authorize Lead Counsel to complete the Securitization.



         I declare under penalty of peijury that the forgoing is tre and correct to the best of my

  knowledge.



  Dated: March 5, 2009
         New York, NY




                                                                                                       ~'..




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